          Case: 1:17-cv-03654 Document #: 5 Filed: 07/19/17 Page 1 of 1 PageID #:20



042575/19344/MHW/MEL

                           U.S. District Court for the Northern District of Illinois
                                         Attorney Appearance Form

Case Title: MICHAEL      DAVIS      v.                         Case Number:     17-cv-3654
            STATEVILLE       PRISON
            GUARD WESAM S. ALI,
            ILLINOIS DEPARTMENT OF
            CORRECTIONS       (IDOC),
            NURSE     "MARY",     and
            WEXFORD         HEALTH
            SOURCES, INC
An appearance is hereby filed by the undersigned as attorney for:
                                     WEXFORD HEALTH SOURCES, INC.
Attorney Name (type or print): Matthew H. Weller
Firm:                CASSIDAY SCHADE LLP
Street Address:      20 N. Wacker Drive, Suite 1000
City/State/Zip:      Chicago, IL 60606
Bar ID Number:       6278685                                        Telephone Number: (312) 641-3100
(See Item 3 in instructions)
Email Address:           mweller@cassiday.com
Are you acting as lead counsel in this case?                                  Yes            No
Are you acting as local counsel in this case:                                 Yes            No
Are you a member of the court’s trial bar?                                    Yes            No
If this case reaches trial, will you act as the trial attorney?               Yes            No
If this is a criminal case, check your status.                       Retained Counsel
                                                                     Appointed Counsel
                                                                     If appointed counsel, are you a
                                                                          Federal Defender
                                                                          CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by local Rules
83.12 through 83.14. I declare under penalty of perjury that the foregoing is true and correct.
Under 28 U.S.C. § 1746, this statement under perjury has the same force and effect as a sworn
statement made under oath.
Executed on July 19, 2017
Attorney Signature:            s/Matthew H. Weller
                               (Use electronic signature if the appearance form is filed electronically.)
8590010




                                                                                              Revised 8/1/2015
